         Case 3:11-cr-00721-BTM                        Document 70               Filed 09/28/15             PageID.156            Page 1 of 4
     IQ.AO 2450 (CASD) (Rev. 8111) Judgment in a Criminal Case for Revocations
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                   Sheet 1




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                                              UNITED STATES DISTRICT COURT                                                   so   , EHN DISTiller OF CJ~LIFonNlt\
                                                                                                                                                              DEPUTY
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                                                    SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                         V.                                         (For Revocation of Probation or Supervised Release)
                      JESSE RODRIGUEZ MILLAN                                        (For Offenses Committed On or After November I, 1987)


                                                                                    Case Number: llCR0721-BTM

                                                                                    BENJAMIN DAVIS, FEDERAL DEFENDERS, INC.
                                                                                    Defendant's Attorney
    REGISTRATION No. 24651298
D
    THE DEFENDANT:
     l&ladmitted guilt to violation of allegation(s) No ...:1_-6::.-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o     was found in violation of allegation(s) No.                                                       after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number                        Nature of Violation
             1-5              Unlawful use of controlled substance
              6               Failure to participate in drug or alcohol abuse treatment program




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                      __
                                                                                                                              4_ of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States Attoruey for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Umted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                    SEPTEMBER 25, 2015
                                                                                   Date of Imposition of Sentence




                                                                                                  lATh::; DISTRJCT JUDGE




                                                                                                                                              II CR0721-BTM
      Case 3:11-cr-00721-BTM                         Document 70     Filed 09/28/15         PageID.157           Page 2 of 4
AO 245B      (Rev. 9100) Judgment in Criminal Case
             Sheet 2 - Imprisonment

                                                                                               Judgment - Page     2     of        4
DEFENDANT: JESSE RODRIGUEZ MILLAN
CASE NUMBER: I I CR072l-BTM
                                                            IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          FIVE (5) MONTHS.


                                                                                               BARRY tED MOSKOWITZ
   o      The court makes the following recommendations to the Bureau of Prisons:              UNITED STATES DISTRICT JUDG




   o The defendant is remanded to the custody of the United States Marshal.
   o The defendant shall surrender to the United States Marshal for this district:
            Oat                                      D·m.    D.m.        on
                as notified by the United States Marshal.

   o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           Obefure ____________________________________________________
           D as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                  to

at _________________________ , with a certified copy ofthis judgment.


                                                                                             UNITED STATES MARSHAL


                                                                    By ________~~~~~~~~~__----------
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                       lICR072I-BTM
          Case 3:11-cr-00721-BTM                    Document 70             Filed 09/28/15            PageID.158            Page 3 of 4
AO 245D (CASD) (Rev. 8111) Judgment in a Criminal Case for Revocations
           Sheet 3 - Supervised Release
                                                                                                              Judgment-Page        3      of       4
DEFENDANT: JESSE RODRIGUEZ MILLAN                                                                     o
CASE NUMBER: 11CR072I-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TWO (2) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          ---

o      The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

~      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
~      Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such- fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply. with
any special conditions imposed.


                                       ST ANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where control1ed substances are ilIegal1y sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shalI permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by thedefendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

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        AD 2458    (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                       Judgment-Page _ _4_ of _ _,,4_ __
        DEFENDANT: JESSE RODRIGUEZ MILLAN                                                         o
        CASE NUMBER: II CR072I-BTM




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
    a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

181 Participate in a program of drug and alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
o Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription, under Federal Law.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o   Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


o The defendant shall not discontinue mental health medication without written permission of his Doctor.
o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 120 days commencing upon release.
    This is a non-punitive placement. This condition terminates upon entry into a residential drug treatment program.
181 Seek and maintain full time employment andlor schooling or a combination of both.
o   Abstain from all use of Alcohol.
o   Complete an Anger Management Program as directed by the Probation Officer within 18 months of release.
o   The defendant shall complete the "Volunteers of America" detox program.
181 Forthwith Apply for enter and successfully complete a residential drug treatment Program as directed by the Probation Officer.
o reenter
  If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter or attempt to
          the United States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions
    of supervision are suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




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